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 1                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON

 2
                                                                   Jun 25, 2024
 3                                                                     SEAN F. MCAVOY, CLERK




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 5                         UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                   No. 4:24-CR-06015-MKD

 8                             Plaintiff,        STIPULATED PROTECTIVE
                                                 ORDER REGARDING
 9                v.                             IDENTIFICATION OF MINOR
                                                 VICTIM PURSUANT TO
10   RICARDO VELAZQUEZ REYES,                    18 U.S.C. § 3509, AND ORDER
                                                 GRANTING MOTION TO
11                             Defendant.        EXPEDITE

12                                               ECF Nos. 21, 22

13         Before the Court are the parties’ Stipulation for Protective Order Regarding

14   Identification of Minor Victim Pursuant to 18 U.S.C. § 3509, ECF No. 21, and the

15   United States’ related Motion to Expedite, ECF No. 22. Given the nature of the

16   allegations in this case, the parties stipulate to impose privacy protection measures

17   pursuant to 18 U.S.C. § 3509. The Court has reviewed the motions and the record

18   and is fully informed. The Court finds good cause to grant the motions.

19         Accordingly, IT IS HEREBY ORDERED:

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     ORDER - 1
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 1         1.      The parties’ Stipulation for Protective Order Regarding Identification

 2   of Minor Victim Pursuant to 18 U.S.C. § 3509, ECF No. 21, and the United States’

 3   Motion to Expedite, ECF No. 22, are GRANTED.

 4         2.      The privacy protection measures mandated by 18 U.S.C. § 3509(d),

 5   which apply when a case involves a person under the age of eighteen years who is

 6   alleged to be a victim of a crime of sexual exploitation, or a witness to a crime

 7   committed against another person, apply to this case.

 8         3.      All persons acting in this case in a capacity described in 18 U.S.C.

 9   § 3509(d)(1)(B), shall:

10              a. keep all documents that disclose the names, identities, personal

11                 identifying information (“PII”) or any other information concerning

12                 minors in a secure place to which no person who does not have reason

13                 to know their contents has access;

14              b. disclose such documents or the information in them that concerns

15                 minors only to persons who, by reason of their participation in the

16                 proceeding, have reason to know such information;

17              c. not permit Defendant to review discovery outside the presence of

18                 defense counsel or a defense investigator;

19              d. not permit Defendant to keep discovery in their own possession

20                 outside the presence of defense counsel or a defense investigator; and




     ORDER - 2
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 1              e. not permit Defendant to keep, copy, or record the identities of any

 2                 minor or victim identified in discovery in this case.

 3         4.      All papers to be filed in Court that disclose the names or any other

 4   information identifying or concerning minors shall be filed under seal without

 5   necessity of obtaining a Court order, and that the person who makes the filing shall

 6   submit to the Clerk of the Court:

 7              a. the complete paper to be kept under seal; and

 8              b. the paper with the portions of it that disclose the names or other

 9                 information identifying or concerning children redacted, to be placed

10                 in the public record.

11         5.      The parties and the witnesses shall not disclose minors’ identities

12   during any proceedings connected with this case. The parties and witnesses will

13   refer to alleged minor victims only by using agreed-upon pseudonyms (e.g.,

14   “Minor Victim 1”), rather than their bona fide names, in motions practice, opening

15   statements, during the presentation of evidence, in closing arguments, and during

16   sentencing.

17         6.      The United States may produce discovery to Defendant that discloses

18   the bona fide identity, images, and PII of the alleged minor victim, in order to

19   comply with the United States’ discovery obligations. Defendant, the defense

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     ORDER - 3
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 1   team, Defendant’s attorney and investigator, and all of their externs, employees,

 2   and/or staff members, shall keep this information confidential as set forth above.

 3         7.     This ORDER shall apply to any attorneys who subsequently become

 4   counsel of record, without the need to renew or alter the ORDER.

 5         8.     This ORDER shall apply to the bona fide identity, images, and PII of

 6   any minors who are identified over the course of the case, whether or not such

 7   minors are known to the United States and/or Defendant at the time the ORDER is

 8   entered by the Court.

 9         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

10   and provide copies to all counsel.

11                DATED June 25, 2024.

12                                   s/Mary K. Dimke
                                    MARY K. DIMKE
13                           UNITED STATES DISTRICT JUDGE

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     ORDER - 4
